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                              UNITED STATES BANKRUPTCY COURT
                                    Middle District of Florida
                                        Orlando Division

IN RE:                                                           Case No:          6:24-bk-02642-GER

KARLYLE C JONES

                                             Debtor /            Chapter 13

                                   Notice of Increase in Plan Payments
                               This notice supersedes any previous notices filed

     This notice is occasioned by a Notice of Mortgage Payment Change from Mortgage Research Center,
LLC D/B/A Veterans United Home Loans (filed 4/07/2025). Paragraph 8 of your Confirmation Order provides
for this change in plan payments from you to the Trustee, and no further order is required.

THE EFFECTIVE DATE OF THIS INCREASE IN PAYMENT IS WITH THE PAYMENT DUE: May
2025
                                      Former           New
      Payment                        $2,602.11     $2,613.05
      Increase                                        $10.94
      Additional Trustee Fee                           $1.22
         Your payment to the trustee               $3,773.00            $3,785.16 (5/2025 - 5/2029)

    If you have made one or more payments which are after the effective date of this change, you MUST, in
order for your payments to be current and in good standing, forward the difference between your former payment
and the new payment to the Trustee upon receipt of this notice.
                                            Certificate of Service

     I HEREBY CERTIFY, that a true and correct copy of the foregoing was served upon the parties listed below
by first-class U.S. Mail, postage prepaid or by Electronic Notification through the Court’s ECF System at the
e-mail address registered with the Court, on this 11th day of April, 2025.

Debtor - Karlyle C Jones, 15038 Guava Bay Dr, Winter Garden, FL 34787
Attorney - Matthew R Gross, Fresh-Start Law, 498 Palm Springs Dr, Ste 100, Altamonte Springs, FL 32701


                                                               BY: /S/ LAURIE K. WEATHERFORD
                                                               Chapter 13 Trustee
                                                               Stuart Ferderer
                                                               FBN 0746967
                                                               Ana DeVilliers
                                                               FBN 0123201

                                                               PO Box 3450
                                                               Winter Park, FL 32790
                                                               Telephone: 407-648-8841
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